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    UNITED STATES COURT OF INTERNATIONAL TRADE


                                           )
NEW AMERICAN KEG, d/b/a                    )
AMERICAN KEG COMPANY,                      )
                                           )
           Plaintiff,                      )
                                           )
    v.                                     ) Court No. 20-00008
                                           )
UNITED STATES,                             )
                                           ) Hon. M. Miller Baker,
           Defendant,                      ) Judge
     and                                   )
                                           )
NINGBO MASTER                              )
INTERNATIONAL TRADE                        )
CO., LTD, and GUANGZHOU                    )
JINGYE MACHINERY CO., LTD.                 )
                                           )
           Defendant-Intervenors.          )
                                           )

                         PROPOSED ORDER

     Upon consideration of the Final Results of Redetermination

Pursuant to Court Remand filed by the Department of Commerce on

(“Commerce”) on November 14, 2022, and all other papers and

proceedings herein, it is hereby

     ORDERED that judgment is entered in favor of American Keg

Company; and it is further
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     ORDERED that Commerce’s determination to disregard

Brazilian labor data in favor of ILO data for Mexico is remanded for

further consideration consistent with this opinion; and it is further

     ORDERED that Commerce’s determination to grant separate

rate status to Guangzhou Ulix Industrial & Trading Co., Ltd. is

remanded for further consideration consistent with this opinion.



                                    ___________________________
                                       M. Miller Baker, Judge


Dated:     _____________________
           New York, New York




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    UNITED STATES COURT OF INTERNATIONAL TRADE

                                          )
NEW AMERICAN KEG, d/b/a                   )
AMERICAN KEG COMPANY,                     )
                                          )
          Plaintiff,                      )
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    v.                                    ) Court No. 20-00008
                                          )
UNITED STATES,                            )
                                          ) Hon. M. Miller Baker,
          Defendant,                      ) Judge
                                          )
    and                                   )
                                          )
NINGBO MASTER                             )
INTERNATIONAL TRADE                       )
CO., LTD, and GUANGZHOU                   )
JINGYE MACHINERY CO., LTD.                )
                                          )
          Defendant-Intervenors.          )
                                          )

 PLAINTIFF’S COMMENTS ON FINAL RESULTS OF SECOND
   REDETERMINATION PURSUANT TO COURT REMAND

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Dated: January 26, 2023
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                             GLOSSARY

AD                  Antidumping
CPI                 Consumer Price Index
IDM                 Issues and Decision Memorandum
ILC                 The Conference Board, International Labor
                    Comparisons
ILO                 International Labor Organization
INEGI               Government of Mexico, Institute of Statistics and
                    Geography
NME                 Non-Market Economy
PDM                 Preliminary Decision Memorandum
POI                 Period of Investigation
SRA                 Separate Rate Application
SV                  Surrogate Value




                                   v
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PUBLIC VERSION                                            Court No. 20-00008

 PLAINTIFF’S COMMENTS ON FINAL RESULTS OF SECOND
   REDETERMINATION PURSUANT TO COURT REMAND

      Plaintiff American Keg Company (“Plaintiff,” “American Keg,” or

“Petitioner”) respectfully submits these comments regarding the U.S.

Department of Commerce’s (“Commerce”) second final remand

redetermination in its antidumping duty investigation of refillable

stainless steel kegs from the People’s Republic of China, published as

Final Results of Redetermination Pursuant to Court Remand, New

American Keg v. United States, Court No. 20-00008, Slip Op. 22-106

(CIT September 13, 2022), ECF No. 74, (Nov. 13, 2022) (“Second Final

Remand”), P2RR 5, Appx__.1 Plaintiff submits these comments in

accordance with the Court’s order of December 12, 2022, ECF No. 78

(Dec. 12, 2022), and Rule 56.2 of the United States Court of

International Trade.

      Plaintiff supports Commerce’s determination that using a

Brazilian CPI to inflate Mexican labor data was inappropriate.




      1  All citations to the second remand administrative record are denoted with
the item number for the public document index (“P2RR”) and proprietary document
index (“C2RR”) as appropriate. Similarly, all citations to the original and first
remand administrative records are denoted “PR” and “CR” and “P1RR” and “C1RR,”
respectively.

                                        1
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However, Plaintiff challenges the following aspects of the Second Final

Remand and respectfully requests that this Court remand Commerce’s

determination for further consideration:

   1. Whether Commerce’s determination to disregard Brazilian labor
      data in favor of placing ILO labor data for Mexico on the record
      was supported by substantial evidence.

   2. Whether Commerce’s determination to disregard Brazilian labor
      data in favor of placing ILO labor data for Mexico on the record
      was arbitrary, capricious, and an abuse of discretion.

   3. Whether Commerce’s determination to grant separate rate status
      to Guangzhou Ulix Industrial & Trading Co., Ltd. was supported
      by substantial evidence.

                        STATEMENT OF FACTS

      Commerce’s Second Final Remand follows two prior remand

orders by this Court concerning (1) the surrogate value for the labor

factor of production, and (2) Commerce’s grant of separate rate status to

Guangzhou Ulix Industrial & Trading Co., Ltd. (“Ulix”). See New Am.

Keg v. United States, No. 20-00008, 2021 WL 1206153, at *22 (Ct. Int’l

Trade Mar. 23, 2021), ECF No. 38 (“American Keg I”), remanding

Refillable Stainless Steel Kegs From the People’s Republic of China, 84

Fed. Reg. 57,010 (Dep’t Commerce Oct. 24, 2019) (final aff. determ. of

sales at less than fair value and final aff. determ. of critical


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circumstances, in part) (“Final Determination”), PR 265, Appx__, and

accompanying IDM, PR 251, Appx__. See also New Am. Keg v. United

States, No. 20-00008, 2022 WL 4363320, at *3 (Ct. Int’l Trade Sept. 13,

2022), ECF No. 73 (“American Keg II”), remanding Final Results of

Redetermination Pursuant to Court Remand, New American Keg v.

United States, Court No. 20-00008, Slip Op. 21-30 (CIT March 23,

2021), ECF No. 40, (July 7, 2021) (“First Final Remand”), P1RR 9,

Appx__.

     Pursuant to American Keg II, Commerce issued a draft

redetermination on October 6, 2022. Draft Results of Redetermination

Pursuant to Court Remand, New American Keg v. United States, Court

No. 20-00008, Slip Op. 21-30 (CIT September 13, 2022), (Oct. 6, 2022)

(“Second Draft Remand”), P2RR 1, Appx__. Following comments by

American Keg, Commerce filed the Second Final Remand on November

13, 2022.

     Notwithstanding the Court’s familiarity with this proceeding,

Plaintiff reviews below the facts and circumstances preceding the

Second Final Remand to highlight Commerce’s ongoing cavalier

approach to both Plaintiff’s concerns and the Court’s instructions, which


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has once again resulted in an unlawful redetermination that requires

remand.

     I.    Surrogate Value for Labor

           A.    Investigation Proceedings

     In the underlying investigation, American Keg and mandatory

respondent Ningbo Master International Trade Co., Ltd. (“Ningbo

Master”), proposed and submitted comments regarding three potential

surrogate values with which to value the labor factor of production:

(1) a 2016 hourly wage rate for Brazilian workers in the manufacturing

industry published in the ILC; (2) 2018 wage data for the Malaysian

manufacturing sector published by the Malaysian Department of

Statistics; and (3) 2016 labor data published by INEGI for the Mexican

manufacturing sector. See “Petition for the Imposition of Antidumping

Duties on Imports of Refillable Stainless Steel Kegs from Germany,

Mexico, and the People’s Republic of China and Countervailing Duties

on Imports of Refillable Stainless Steel Kegs from the People’s Republic

of China,” A-570-093, at Vol. II, Exhibit PRC AD-11, p. 3, (Sept. 20,

2018) (“Petition”), PR 2, Appx__; Letter from deKieffer & Horgan,

PLLC, “Preliminary Surrogate Value Submission,” A-570-093, at


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Exhibit SV-4, (Feb. 19, 2019) (“Ningbo Master SV Submission”), PR 129,

Appx__; Letter from deKieffer & Horgan, PLLC, “Final Surrogate Value

Submission,” A-570-093, at Exhibit SV2-6, (Apr. 29, 2019) (“Ningbo

Master 2nd SV Submission”), PR 178, Appx__.

     The Malaysian data were contemporaneous with the POI, and the

2016 Brazilian ILC data were accompanied by CPI information for

Brazil that could be used to index those data to the POI. See Petition at

Vol. II, Exhibit PRC AD-8, PR 2, Appx__. No party provided an

inflationary index for Mexico.

     Commerce originally accepted and relied on the Brazilian ILC

data, inflated to the POI, when initiating the AD investigation because

record evidence demonstrated that Brazil was “a significant producer of

comparable merchandise.” See “Antidumping Duty Investigation

Initiation Checklist,” A-570-093, at 8-9 (Oct. 10, 2018) (“AD Checklist”),

PR 22, Appx__. In the Preliminary Determination, Commerce selected

Malaysia (another significant producer of comparable merchandise) as

the primary surrogate country based on various data quality and

availability considerations, including the fact that the record lacked a

complete dataset for Mexico, as well as the fact the Brazilian labor data


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had to be indexed to the POI while the Malaysian data did not.

Refillable Stainless Steel Kegs from the People’s Republic of China, 84

Fed. Reg. 25,745 (Dep’t Commerce June 4, 2019) (prelim. aff. determ. of

sales at less than fair value, prelim. aff. determ. of critical

circumstances, in part, postponement of final determ., and extension of

provisional measures) (“Preliminary Determination”), PR 216, Appx__

and accompanying PDM at 8, 10-11, PR 203, Appx__, Appx__.

      Although no party disputed using Malaysia as the primary

surrogate country, Commerce reevaluated each of the three proposed

labor SVs after American Keg argued that the Malaysia data were

distorted. Investigation IDM at 9-12, PR 251, Appx__. Commerce

strongly rejected the Mexican INEGI data, explaining that the data

were neither from the primary surrogate country nor contemporaneous,

and that Commerce could not “ascertain whether the Mexico SV

represents full labor costs.” Id. at 10, Appx__. With respect to Brazil,

Commerce merely reiterated that the data were not from the primary

surrogate country or “fully” contemporaneous with the POI. Id. at 9-10,

Appx__. Commerce ultimately relied on the Malaysian labor SV after

finding that the data were not distorted. Id. at 12, Appx__.


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           B.    American Keg I

     This Court remanded that determination, faulting Commerce’s

“perfunctory rejection of” evidence regarding distortions in the

Malaysian data and its “talismanic invocation” of data preferences as a

substitute for reasoned explanation and analysis. American Keg I, 2021

WL 1206153, at *12 and *13.

     In its draft remand redetermination, Commerce agreed that

evidence of distortions in the Malaysian data “outweighed” its original

data preferences such that the Malaysian labor data were “not the best

available information on the record.” Draft Results of Redetermination

Pursuant to Court Remand, New American Keg v. United States, Court

No. 20-00008, Slip Op. 21-30 (CIT September 13, 2022), at 6 (Oct. 6,

2022) (“First Draft Remand”), P1RR 4, Appx__. The agency then

confirmed the deficiencies that precluded use of the INEGI data and

“selected the only remaining labor SV on the record, the Brazilian labor

SV from 2016.” Id. at 7, Appx__. Commerce inflated that value to the

POI using the Brazilian CPI information from the petition and

recalculated Ningbo Master’s rate, resulting in a new margin of 4.23

percent. Id. at 7, 12, Appx__, Appx__.


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     Following comments by interested parties, however, Commerce

changed course to find that a fourth data source, i.e., 2016 Mexican data

published in the ILC, was “the best information available to value

Ningbo Master’s labor FOPs” in light of Mexico’s established status as a

producer of the subject merchandise and the agency’s “preference to

select a surrogate country that produces identical merchandise over one

that only produces comparable merchandise.” First Final Remand at

19, P1RR 9, Appx__ (internal citation omitted). Commerce inflated the

Mexican ILC value using the only temporally relevant inflator on the

record, the Brazilian CPI information, and determined that Ningbo

Master’s recalculated dumping margin was de minimis. Id. at 19, 24,

Appx__, Appx__.

           C.     American Keg II

     This Court rejected Commerce’s approach:

     Commerce used an inflator specific to a different country, a
     suspect choice, and then it failed to explain that choice.
     That alone would justify remand in view of Commerce’s
     published guidance . . . In other words, Commerce needs to
     explain how the Brazilian consumer price index is relevant
     to Mexican data.

American Keg II, 2022 WL 4363320, at *2. The Court further observed

that “it appears that the Department didn’t give much thought to this

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switch in view of the necessity for another remand” and instructed

Commerce to “explain why it was appropriate to inflate a Mexican labor

wage rate using Brazilian data and why doing so was superior to using

a Brazilian labor wage rate.” Id. at *3.

     Commerce conceded that “it was improper to inflate the Mexican

labor wage rate from the ILC using Brazilian {CPI} data.” Second Draft

Remand at 3, P2RR 1, Appx__. However, the agency postulated,

without citation to any existing practice, that

     {Because the} ILC data for both Brazil and Mexico was
     denominated in U.S. dollars . . . it would also be
     inappropriate to use the Brazilian CPI data, which measure
     the increases of prices denominated in Brazilian real, on the
     record to inflate the Brazilian labor wage rate from the ILC,
     which was denominated in U.S. dollars.

Id. Commerce consequently found that it could not “properly inflate

either of the ILC rates for Mexico or Brazil” and reopened the

administrative record to add an entirely new labor data source, 2018

data for “Manufacturing” labor in Mexico published by the ILO, citing

the agency’s “stated preference of basing labor cost on {ILO} data.” Id.

at 3-4 (citing Antidumping Methodologies in Proceedings Involving

Non-Market Economies: Valuing the Factor of Production: Labor, 76

Fed. Reg. 36,092, 36,094 (Dep’t Commerce June 21, 2011) (“Labor

                                    9
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Methodologies”)), Appx__. The new labor data resulted in a de minimis

rate for Ningbo Master. Id. at 8, Appx__.

     American Keg responded with an extensive overview of Commerce

precedent explaining that the agency’s policy was, in fact, to inflate

data for a given country with the CPI for that country, even if the data

were denominated in U.S. dollars. See Letter from Picard Kentz &

Rowe LLP, “Comments on Draft Results of Redetermination Pursuant

to Court Remand,” A-570-093, at 5-8 (Oct. 13, 2022) (“Petitioner’s

Second Draft Remand Comments”), P2RR 5, Appx__. American Keg

requested that Commerce reverse its approach in the final remand

redetermination and rely instead on the “vetted and complete labor

wage data for Brazil” that Commerce had already accepted and used

twice. Id. at 3, Appx__.

     In response, Commerce acknowledged that it “mischaracterized

the applicability of using Brazilian CPI data for inflating a Brazilian

surrogate denominated in U.S. dollars,” but insisted that “Mexico is

superior to Brazil as a surrogate for the factors of production of the

subject merchandise” given its production of identical merchandise.

Second Final Remand at 8, P2RR 6, Appx__. Commerce dismissed


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American Keg’s focus on available inflators as misplaced because

“{o}rdinarily, Commerce determines how to inflate the data (if

necessary) after the data has been selected,” and stated that, in any

event, “because {Commerce has} a mandate to calculate margins as

accurately as possible . . . it is appropriate to place data on the record in

order to inflate the Mexican surrogate.” Id. at 9, Appx__. Commerce

further asserted that “{h}ad it not been for {its} stated preference for

ILO data, the appropriate course of action would have been to place

Mexican CPI data on the record and use it to inflate the Mexican ILC

rate as the SV for labor.” Id. Given that preference, however,

Commerce “continued to use the ILO data for Mexico . . . which has the

additional benefit of being contemporaneous with the POI.” Id.

     II.   Ulix’s Separate Rate Status

     In the underlying investigation and first remand proceedings,

Commerce granted separate rate status to Ulix based on the agency’s

determination that the company “conducted an independent price

negotiation with its unaffiliated U.S. customer,” and its corollary

determination that “the record does not support a finding that {Ulix} is

affiliated with” that customer ([                        ], or “Company A”)


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or the customer’s affiliates ([                                ]).

Investigation IDM at 23, PR 251, Appx__; First Final Remand at 12,

P1RR 9, C1RR 14, Appx__.

      This Court ordered Commerce to reconsider its original

determination because “Commerce simply failed to address American

Keg’s evidence that the U.S. customer was affiliated with Ulix.”

American Keg I, 2021 WL 1206153 at *19. When presented with

Commerce’s new analysis in the First Final Remand, the Court again

remanded because “there needs to be affirmative evidence on the record

that {Company A} is unaffiliated with Ulix. There is no such evidence.”

American Keg II, 2022 WL 4363320, at *3. The Court further dismissed

Commerce’s reliance on “statements {that} refer to past actions by

individuals, not present affiliations” and that “don’t even deny an

affiliation between Ulix and Company A.” Id. The Court concluded

that, “{w}ithout even a bare denial, there is no evidence on the record

from which Commerce could conclude that the companies were not

affiliated,” which meant that “Ulix {had} not carried its burden to show

a lack of affiliation.” Id.




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     In the Second Final Remand, Commerce highlighted a number of

statements from Ulix’s original SRA that the agency claimed

constituted affirmative evidence that the Ulix was not affiliated with its

customer. Id. at 4-5, P2RR 6, C2RR 6, Appx__. Commerce also relied

on a rebuttal statement by Ulix that it had “conferred” with [

          ] that purportedly confirmed the lack of affiliation, as well as

the factual certifications by a Ulix representative that accompanied

each submission. Id. at 6, 14, Appx__, Appx__. Commerce

subsequently concluded that Ulix satisfied its burden in qualifying for a

separate rate. Id. at 14, Appx__.

                       STANDARD OF REVIEW

     The statute states that:

     The Court shall hold unlawful any determination, finding, or
     conclusion, found . . . to be unsupported by substantial
     evidence on the record, or otherwise not in accordance with
     law.

19 U.S.C. § 1516a(b)(1)(B). The Supreme Court has defined substantial

evidence as “such relevant evidence as a reasonable mind might accept

as adequate to support a conclusion.” Consol. Edison Co. v. NLRB, 305

U.S. 197, 229 (1938) (citations omitted). Thus, the Court must consider

whether a reasonable person could conclude that the evidence relied

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upon by Commerce actually supports the agency’s determination.

Atlantic Sugar, Ltd. v. United States, 744 F.2d 1556, 1563 (Fed. Cir.

1984). In addition, “{t}he substantiality of evidence must take into

account whatever in the record fairly detracts from its weight.”

Universal Camera Corp. v. NLRB, 340 U.S. 474, 488 (1951). The

question for this Court is therefore whether, given the evidence on the

“record as a whole,” the agency’s conclusion was reasonable. Nippon

Steel Corp. v. United States, 458 F.3d 1345, 1351 (Fed. Cir. 2006).

     Legal precedent also requires that Commerce exercise its

discretion in a reasonable manner. Specifically:

     {W}here the agency is vested with discretion to set the
     procedures by which it administers its governing statute, the
     court reviews such decisions for abuse of discretion. An
     abuse of discretion occurs where the decision is based on an
     erroneous interpretation of the law, on factual findings that
     are not supported by substantial evidence, or represents an
     unreasonable judgment in weighing relevant factors. In
     abuse of discretion review, an agency action is arbitrary
     when the agency offers insufficient reasons for treating
     similar situations differently.

Jiangsu Jiasheng Photovoltaic Tech Co. v. United States, 28 F. Supp. 3d

1317, 1323 (Ct. Int’l Trade 2014). See also Tokyo Kikai Seisakusho,

Ltd. v. United States, 529 F.3d 1352, 1360-61 (Fed. Cir. 2008) (holding

that although an agency’s “power to reconsider is inherent in the power

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to decide,” it “may not reconsider in a manner that would be arbitrary,

capricious, or an abuse of discretion”) (internal citations omitted).

     Further, to the extent that the statute affords Commerce

discretion as to how to conduct its investigation, courts have explained

that “the grant of discretionary authority to an agency implies that the

exercise of discretion be predicated upon a judgment anchored in the

language and spirit of the relevant statutes and regulations.” Freeport

Minerals Co. v. United States, 776 F.2d 1029, 1031 (Fed. Cir. 1985).

     In order to make a finding that an agency’s action is “arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with

law,” a reviewing body

     must consider whether the decision was based on a
     consideration of the relevant factors and whether there has
     been a clear error of judgment. Although this inquiry into
     the facts is to be searching and careful, the ultimate
     standard of review is a narrow one. The court is not
     empowered to substitute its judgment for that of the agency.

Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402, 416

(1971). Similarly, this Court may remand a decision for being arbitrary

and capricious if

     the agency has relied on factors which Congress has not
     intended it to consider, entirely failed to consider an
     important aspect of the problem, offered an explanation for

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     its decision that runs counter to the evidence before the
     agency, or is so implausible that it could not be ascribed to a
     difference in view or the product of agency expertise.

Motor Vehicle Mfrs. Ass’n. v. State Farm Mut. Auto Ins., 463 U.S. 29,

43 (1983).

                     SUMMARY OF ARGUMENT

     Commerce’s Second Final Remand complied with the Court’s

instructions to reconsider the application of a Brazilian CPI to a

Mexican labor rate. As with the First Final Remand, however,

Commerce’s latest redetermination presents yet another failure by the

agency to engage with relevant evidence and administrative precedent,

and yet another failure by the agency to exercise its discretion in a

reasonable manner.

     Specifically, although Commerce reasonably determined that a

Brazilian CPI could not be used to inflate Mexican labor data, the

agency offered unsupported and arbitrary justifications for its refusal to

rely on the available Brazilian labor data, leading to its use of newly-

added ILO data for Mexico that appears to have been unavailable at the

time of the investigation. This determination is an abuse of discretion,




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and Commerce’s articulated rationale remains arbitrary and

unsupported by substantial evidence.

     In addition, Commerce has failed to identify affirmative evidence

that Ulix is unaffiliated with its customer as directed by this Court. Its

determination to once again grant Ulix a separate rate is therefore

unsupported by substantial evidence.

                              ARGUMENT

     I.    Commerce’s Determination to Rely on ILO Data Was
           Unlawful

     Commerce premised its draft and final determinations to reopen

the record for ILO data on a failure to understand its own

methodologies and a complete disregard for agency practice.

Commerce’s determination also unlawfully discounted its own factual

findings from the underlying investigation and first remand proceeding.

As such, Commerce’s reliance on the ILO data was unsupported by

substantial evidence and constitutes an abuse of discretion.

     As detailed above, Commerce initially determined that “an

accurate calculation” required reopening the record because neither the

Brazilian nor Mexican ILC labor rate, each of which was denominated

in U.S. dollars, could be inflated to the POI using the Brazilian CPI on

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the record. Second Draft Remand at 3, P2RR 1, Appx__. This finding

wholly contradicted the agency’s decade-long methodology of applying a

CPI for the source country to the relevant dataset even if denominated

in U.S. dollars. See Petitioner’s Second Draft Remand Comments at 5-

8, P2RR 5, Appx__ (internal citations omitted).

     Commerce conceded this fact in the Second Final Remand. Id. at

8, P2RR 6, Appx__. But, rather than reversing its erroneous

determination, the agency offered an alternative justification for

continuing to rely on the ILO data: because Mexico was a producer of

subject merchandise and Brazil was not, “Mexico {was} superior to

Brazil as a surrogate” and the agency’s “mandate to calculate margins

as accurately as possible” required opening the record to facilitate the

use of Mexican data. Id. at 8-9, Appx__. This declaration is

impermissibly results-oriented and again disregards the facts of this

investigation and the agency’s usual practice for selecting SVs. See

Calgon Carbon Corp. v. United States, 190 F. Supp. 3d 1224, 1240 (Ct.

Int’l Trade 2016) (remanding where “the absence of reasoning {gave} the

appearance of being results-oriented”); Carpenter Tech. Corp. v. United

States, 26 C.I.T. 830, 840-41 (2002) (remanding because Commerce’s


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“explanation appear{ed} results-oriented”). See also Tung Mung Dev.

Co., Ltd. v. United States, 25 C.I.T. 752, 773 n.35 (2001) (agreeing that

“a results oriented approach would be improper”). This Court should

again remand that determination.

           A.    Commerce’s Determination to Reopen the
                 Record Was Unsupported by Substantial
                 Evidence

     As an initial matter, Commerce’s insistence that “accuracy”

required sourcing labor data from Mexico instead of Brazil is

unsupported. The Court of Appeals for the Federal Circuit has

explained that “a Commerce determination . . . is ‘accurate’ if it is

correct as a mathematical and factual matter, thus supported by

substantial evidence.” Nan Ya Plastics Corp., Ltd. v. United States, 810

F.3d 1333, 1344 (Fed. Cir. 2016). And, while Commerce is correct that

it typically prioritizes data from countries with production of identical

merchandise over those producing comparable merchandise, application

of that preference is highly case-specific. See, e.g., Chlorinated

Isocyanurates from the People’s Republic of China, 82 Fed. Reg. 4,852

(Dep’t Commerce Jan. 17, 2017) (final results 2014-2015) and

accompanying IDM at Comment 1. The record of this investigation


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demonstrates that, as a factual matter, the Brazilian data satisfied

Commerce’s criteria for use as an SV, therefore facilitating an accurate

margin calculation and leaving Commerce’s refusal to rely on that data

without record support.

     The statute states that “valuation of the factors of production shall

be based on the best available information regarding the values of such

factors,” 19 U.S.C. § 1677b(c)(1)(B), and that Commerce “shall utilize to

the extent possible” prices from countries that are economically

comparable and significant producers of comparable merchandise, 19

U.S.C. § 1677b(c)(4). This analysis requires balancing numerous

considerations; for example, countries satisfying both criteria may not

have sufficient data available, justifying a wider definition of the

criteria, or it may be appropriate to place more emphasis on the

production of comparable merchandise over economic comparability.

See Policy Bulletin No. 04.1: Non-Market Economy Surrogate Country

Selection Process, (Mar. 1, 2004).

     The analysis does not require disregarding data from a significant

producer of comparable merchandise simply because data from a

producer of identical merchandise might be available. To the contrary,


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Commerce’s policy states that “{i}f considering a producer of identical

merchandise leads to data difficulties, {Commerce} may consider

countries that produce a broader category of reasonably comparable

merchandise.” Id.

      In this case, Malaysia, Brazil, and Mexico were all found to be

economically comparable and significant producers of comparable

merchandise. PDM at 8-9, PR 203, Appx__. However, Commerce

determined that data quality and availability were more important in

selecting a primary surrogate country than a country’s actual

production of the subject merchandise. Id. at 10, Appx__. Because

complete data were not available for Mexico, Commerce limited its

consideration to Malaysia and Brazil and ultimately chose Malaysia.

Id. at 10-11, Appx__. That is, Commerce determined that placing SV

information for Mexico on the record was not necessary for calculating a

dumping margin as accurately as possible, even though the primary

surrogate country did not produce identical merchandise.2




      2  As discussed in the following section, Commerce’s reliance on the factual
record constructed by the interested parties was consistent with its approach in
nearly all SV cases.

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     In addition, Commerce twice determined that Brazilian labor data

were accurate for purposes of calculating a dumping margin: first when

initiating the underlying investigation, and again in the First Draft

Remand. See AD Checklist at 8-9, PR 22, Appx__; First Draft Remand

at 7, P1RR 4, Appx__. These determinations were supported by

substantial record evidence and consistent with agency practice, as the

data not only satisfied Commerce’s general SV criteria but were based

on the same industry-specific classifications as ILO Chapter 6A data

and reflected both direct and indirect costs in accordance with

Commerce’s preferences. See Letter from Picard Kentz & Rowe LLP,

“Case Brief,” A-570-093, at 27-28 (Aug. 5, 2019) (“Petitioner’s

Investigation Case Brief”), PR 241, Appx__ (citing Petition at Vol. II,

Exhibit PRC AD-11, Table 1, Note 1, Table 3, Note 1, PR 2, Appx__,

Appx__). See also Labor Methodologies, 76 Fed. Reg. at 36,093.

     In fact, Commerce relied on Brazilian data rather than Mexican

INEGI data in the First Draft Remand specifically because the INEGI

data as submitted by Ningbo Master were of a lower quality. Id. at 6-7,

P1RR 4, Appx__. Had Commerce’s paramount concern been accuracy

based on using data from a country producing identical merchandise,


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the agency should have placed ILO data for Mexico on the record at that

time.3 But Commerce did not do so, because the Brazilian data satisfied

the agency’s criteria and, consistent with well-established practice, were

suitable for calculating an accurate dumping margin.

      Accordingly, Commerce’s established practice for selecting SVs

and its conduct in this case demonstrate that Brazil did, in fact,

facilitate an accurate dumping calculation and was therefore the best

information available on the record when Commerce undertook this

second remand proceeding. Commerce’s insistence that accuracy

required opening the record for additional SV data is therefore

unsupported by substantial evidence.



      3    In placing ILO data on the record, Commerce did not explain how that
information would have been available to parties at the time of the investigation.
Instead, the “ILO Wage Data” tab of the surrogate value worksheet states only that
the information was “Downloaded from ILOSTAT. Last update on 11SEP22.” See
Memorandum to the File, “Draft Remand (Slip Op 22-106) Results Calculation
Memorandum for Ningbo Master International Trade Co., Ltd.,” A-570-093, at
“Surrogate Value Spreadsheet,” (Oct. 6, 2022), P2RR 3, Appx__. Without some
explanation, Commerce cannot now rely on data that would not have been available
to the parties during the course of the administrative proceeding that is the basis
for this appeal. See Dorbest Ltd. v. United States, 462 F. Supp. 2d 1262, 1299-1300
(Ct. Int’l Trade 2006) (citing Vt. Yankee Nuclear Power Corp. v. Natural Resources
Def. Council, Inc., 435 U.S. 519, 555 (1978)) (holding that “available” in the context
of “best information available” “must mean ‘available during the investigation’”).
See also Dorbest Ltd. v. United States, 35 C.I.T. 136, 145 (2011) (citing 2 Am. Jur.
2d Administrative Law § 575) (holding that “{r}emand proceedings do not grant
parties the right to a new {AD} investigation from the current date”).

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           B.    Commerce’s Decision to Reopen the Record Was
                 Arbitrary, Capricious, and an Abuse of
                 Discretion

     Commerce’s Second Final Remand reflects an unjustified and

unexplained departure from its well-established practice for selecting

SVs. See Jiangsu Jiasheng, 28 F. Supp. 3d at 1323 (“An abuse of

discretion occurs where the decision is based on an erroneous

interpretation of the law, on factual findings that are not supported by

substantial evidence, or represents an unreasonable judgment in

weighing relevant factors.”). See also Overton Park, 401 U.S. at 416

(holding that reviewing courts “must consider whether the decision was

based on consideration of the relevant factors and whether there has

been a clear error of judgment”). The agency’s findings should therefore

be remanded as unlawful.

                 (i)   Commerce’s Addition of ILO Data to the
                       Record Was Inconsistent With Established
                       Practice

     Commerce does not reopen administrative records simply because

it has a default preference for valuing labor with ILO data. To the

contrary, Commerce has explained in numerous proceedings that it may




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rely on other data sources provided by interested parties regardless of

whether ILO data are on the record:

     In Labor Methodologies, the Department decided to change
     to the use of ILO Chapter 6A from the use of ILO Chapter
     5B data, on the rebuttable presumption that Chapter 6A
     data better account for all direct and indirect labor costs.
     The Department did not, however, preclude all other sources
     for evaluating labor costs in {NME AD} proceedings. Rather,
     we continue to select the best available information to
     determine SVs for inputs such as labor.

Tapered Roller Bearings and Parts Thereof, Finished and Unfinished,

from the People’s Republic of China, 81 Fed. Reg. 1,396 (Dep’t

Commerce Jan. 12, 2016) (final results) and accompanying IDM at

Comment 4 (selecting between two non-ILO data sources placed on the

record by interested parties) (emphasis added). See also, e.g.,

Multilayered Wood Flooring from the People’s Republic of China, 85

Fed. Reg. 78,118 (Dep’t Commerce Dec. 3, 2020) (final results) and

accompanying IDM at Comment 2 (selecting between two non-ILO

sources placed on the record by interested parties and explaining that

“{a}lthough Commerce stated a preference for ILO data, it did not

preclude reliance on data from another source”); Cast Iron Soil Pipe

Fittings From the People’s Republic of China, 85 Fed. Reg. 37,832

(Dep’t Commerce June 24, 2020) (prelim. results 2018-2019) and

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accompanying PDM at 22 (same). Accord Drawn Stainless Steel Sinks

from the People’s Republic of China, 79 Fed. Reg. 13,019 (Dep’t

Commerce Feb. 26, 2013) (final determ.) and accompanying IDM at

Comment 3 (finding that a second data source was superior to the ILO

data on the record).

     In none of these cases did Commerce reject otherwise usable labor

data in favor of placing its own ILO data on the record. This was for

good reason—it is well-established that “the burden of creating an

adequate record lies with {interested parties} and not with Commerce,”

QVD Food Co. v. United States, 658 F.3d 1318, 1324 (Fed. Cir. 2011),

and Commerce is not required to disregard usable information that

facilitates an accurate margin calculation simply because it has

articulated a general preference for a different source that is not on the

record. Here, notwithstanding its misdirected claims regarding

“accuracy,” Commerce has not explained why it was necessary or

appropriate to assume the burden of adding ILO data to the record

when it has not done so in similar cases. See Jiangsu Jiasheng, 28 F.

Supp. 3d at 1323 ( “an agency action is arbitrary when the agency offers

insufficient reasons for treating similar situations differently”).


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     Indeed, Commerce offered no justification for its departure from

this practice of relying on the “best information available” as submitted

by interested parties beyond a general finding that “Mexico is superior

to Brazil as a surrogate for the factors of production” because “refillable

stainless steel kegs were actually produced in Mexico during the POI.”

Second Final Remand at 8, P2RR 6, Appx__. But while this may be the

case as a general principle, the actual record before Commerce during

the underlying investigation, the first remand proceeding, and at the

beginning of this second remand proceeding had only two SVs from

Mexico, both of which were fundamentally flawed: INEGI data that did

not represent “full labor costs” and were therefore unusable, and ILC

data that could not be indexed to the POI. By contrast, the Brazilian

labor data were comparable to the labor costs reported by the ILO, in

accordance with Commerce’s preference, and could be indexed to the

POI based on existing record evidence in accordance with Commerce’s

practice. See Petitioner’s Investigation Case Brief at 28, PR 241,

Appx__; see also, e.g., Certain Frozen Warmwater Shrimp From the

Socialist Republic of Vietnam, 79 Fed. Reg. 57,047 (Dep’t Commerce

Sept. 24, 2014) (final results 2012-2013) and accompanying IDM at


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Comment 4 (explaining that “U.S. dollar-denominated surrogate values

should be inflated based on the country in which the expense was

incurred, not the currency in which it was reported.”). The record

therefore did not support a finding that “Mexico is superior to Brazil.”

     In short, the agency’s well-established practice should have

resulted in one clear outcome: Commerce would rely on the best

information available on the original investigation record. No party

claimed or demonstrated that the Brazilian data were unusable for any

reason and, indeed, Commerce has never articulated such concerns in

any of its determinations. To the contrary, Commerce has chosen to

rely on the Brazilian data on two separate occasions. Its refusal to do so

in this second remand proceeding—and its latest determination to open

the record for ILO data when its practice is to rely on other usable

sources when submitted by interested parties—represents yet another

“talismanic invocation of data preferences as a substitute for reasoned

explanation” that is arbitrary and capricious. See American Keg I, 2021

WL 1206153, at *13; see also Jiangsu Jiasheng, 28 F. Supp. 3d at 1323.

This court should therefore remand Commerce’s determination as an

abuse of discretion and require the agency to explain why, as a matter


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of fact and law, the record established during the investigation was

unsuitable for supporting an accurate dumping calculation.

                 (ii)   Commerce’s Discussion of Inflationary
                        Indices Misstates Relevant Practice

     Commerce responded to American Keg’s argument that Brazilian

data were the only data that could be inflated to the POI using existing

record evidence with the following statement:

     Commerce applies a hierarchy in selecting the most
     appropriate labor values, does not typically consider the
     inflator determinative of which data to select, and may place
     inflators on the record during the administrative proceeding
     when necessary. Ordinarily, Commerce determines how to
     inflate the data (if necessary) after the data has been
     selected.

Second Final Remand at 8-9 (citing Labor Methodologies, 76 Fed. Reg.

at 36,094), P2RR 6, Appx__. However, these observations are not

germane to the determinations made by Commerce in the investigation.

     First, other than the preference articulated for ILO Chapter 6A

labor data, the only hierarchy appearing on the cited page of Labor

Methodologies relates to the manner in which Commerce “sorts the ILO

data based on data parameters.” 76 Fed. Reg. at 36,094 n.11. But, as

discussed above, Commerce’s practice is to rely on other labor data

sources submitted by interested parties if ILO data is not on the record.

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Moreover, the hierarchy for sorting ILO data was entirely irrelevant to

the question before Commerce, i.e., which SV constituted the “best

available information”: non-contemporaneous Mexican data without an

inflator or Brazilian data that could be inflated using information on

the record. To the extent that Commerce was referring to its general

criteria for selecting SVs, those criteria are not a hierarchy, and they do

not support the agency’s refusal to give weight to the fact that none of

the Mexican data on the record satisfied Commerce’s criteria. See PDM

at 10 (“When evaluating SV data, Commerce considers several criteria

including whether the SV data are publicly available, contemporaneous

with the period under consideration, broad-market averages, tax and

duty-exclusive, and specific to the inputs being valued. There is no

hierarchy among these criteria.”), PR 203, Appx__.

     Second, Commerce cited Labor Methodologies for its contention

that it does not consider the inflator determinative of which data to

select. Second Final Remand at 9 (citing 76 Fed. Reg. at 36,094), P2RR

6, Appx__. This statement appears to be the result of agency confusion

as to Plaintiff’s position and citation to that notice in its own

argumentation.


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     Plaintiff’s position is not that Labor Methodologies requires

Commerce to treat the availability of an inflationary index as

“determinative” overall. See Second Final Remand at 9, P2RR 6,

Appx__. Rather, Plaintiff has consistently stated its position that

Brazilian ILC data constituted the best information available because

(1) Malaysia labor data were distorted, (2) Mexico INEGI data were

incomplete, and (3) the record lacked information that would allow

Commerce to inflate any Mexican data to the POI. See Petitioner’s

Investigation Case Brief at 26-29, PR 241, Appx__; Letter from Picard

Kentz & Rowe LLP, “Comments on Draft Results of Redetermination

Pursuant to Court Remand,” A-570-093, at 4-6 (May 19, 2021), P1RR 8,

Appx__; “Plaintiff’s Comments on Final Results of Redetermination

Pursuant to Court Remand,” at 20-26, ECF. No. 46, (Sept. 20, 2021)

(“Pl.’s First Rem. Comments”); Petitioner’s Second Draft Remand

Comments at 9-12, P2RR 5, Appx__. It was in that context that

Plaintiff cited Labor Methodologies in its comments to this Court

regarding the First Final Remand for the proposition that any index

used to inflate “earnings data” must be “relevant,” a fact that rendered




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application of a Brazilian CPI to Mexican data unlawful. See Pl.’s First

Rem. Comments at 24.

     But the fact that Labor Methodologies does not compel Commerce

to consider inflators at the outset is not relevant to the agency’s failure

to “consider an important aspect of the problem.” Motor Vehicle Mfrs.,

463 U.S. at 43. As stated above, the question before the agency was

which dataset constituted the best information available. See American

Keg II, 2022 WL 4363320, at *3. Over the course of the investigation

and first remand proceeding, interested parties submitted and argued

in favor of four alternatives, and Brazilian ILC data remain the only SV

that satisfied all of Commerce’s criteria for use in an accurate dumping

calculation on the record of the investigation. Commerce’s insistence

that inflationary indices are not dispositive does not explain or justify

its refusal to rely on Brazilian data when all other available sources

were materially deficient; it merely confirms that the agency continues

to misstate or disregard its own practice for selecting SVs in pursuit of a

result that the original record simply did not support. This constitutes

an abuse of discretion.




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     II.   Commerce’s Determination to Grant Ulix Separate
           Rate Status Was Unlawful

     As detailed throughout these remand proceedings, Commerce’s

separate rate analysis requires companies to affirmatively demonstrate

their “independent authority to negotiate and sign export contracts and

other agreements.” See Letter from deKieffer & Horgan, PLLC,

“Separate Rate Application,” A-570-093, at 13 (Nov. 21, 2018) (“Ulix

SRA”), PR 90, Appx__. See also Sparklers from the People’s Republic of

China, 56 Fed. Reg. 20,588, 20,589 (Dep’t Commerce May 6, 1991) (final

determ. of sales at less than fair value) (“Sparklers from China”), citing

Silicon Carbide from the People’s Republic of China, 59 Fed. Reg.

22,585, 22,586-87 (Dep’t Commerce May 2, 1994) (final determ. of sales

at less than fair value) and Furfuryl Alcohol from the People’s Republic

of China, 60 Fed. Reg. 22,544, 22,545 (Dep’t Commerce May 8, 1995)

(final determ. of sales at less than fair value) (considering whether

“prices are set by, or are subject to the approval of, a government

agency,” and whether “companies have “authority to negotiate and sign

contracts and other agreements”). Companies must establish this

independence with documentation such as “email correspondence

between {the} applicant and unaffiliated U.S. customer,” or with an

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“affidavit testifying to independent price negotiation . . . signed and

dated by an unaffiliated U.S. customer.” Ulix SRA at 13 (emphasis

added), PR 90, Appx__.

     This Court directed Commerce to “identify the evidence in the

administrative record that supports granting Ulix a separate rate”

given the above framework. American Keg II, 2022 WL 4363320, at *3.

Commerce has responded with (1) statements and evidence from Ulix’s

SRA that preceded American Keg’s rebuttal evidence of affiliation, and

(2) a narrative certified by Ulix’s business manager describing the

company’s conversation with [

                    ]. Second Final Remand at 4-6, P2RR 6, C2RR 6,

Appx__. As discussed below, however, this evidence remains

insufficient in light of evidence submitted by American Keg that fairly

detracts from Commerce’s conclusion. Commerce’s grant of a separate

rate to Ulix therefore remains unsupported by substantial evidence.

           A.    Ulix’s SRA Does Not Establish the Company’s
                 Eligibility for a Separate Rate

     Commerce highlighted the following statements and evidence

from Ulix’s SRA as affirmative evidence establishing the company’s

entitlement to a separate rate:

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        1. Ulix’s affirmation that it made “shipments or sales to
           unaffiliated parties only;”

        2. Ulix’s statement that it did not have affiliates in the United
           States or that exported subject merchandise to the United
           States; and

        3. Ulix’s statement that it “is not affiliated with any other
           exporters of subject merchandise” and that its [

                                                              ].

        4. Ulix’s list of shareholders, which did not appear to “show{} a
           link between any of these individuals and . . . [
                                         ].

Second Final Remand at 5, P2RR 6, C2RR 6, Appx__ (citing Ulix SRA at

16-17, Exhibit 9, PR 90, CR 21, Appx__, Appx__). But while these

statements may have sufficed if read in isolation, the record as a whole

cast significant doubt on whether Ulix’s statements and evidence were

accurate and complete. See Nippon Steel, 458 F.3d at 1351.

     For example, Ulix’s original response regarding managers and

board members omitted half of the relevant personnel, including [

                                                                           ].

Compare Ulix SRA at 14, PR 90, CR 21, Appx__, with Letter from

deKieffer & Horgan, PLLC, “Supplemental Separate Rate Application

Questionnaire Response,” A-570-093, at 1, 3 (Dec. 18, 2018), PR 113, CR


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34, Appx__, Appx__. In addition, as Plaintiff has previously

highlighted, Ulix’s narrative with respect to the price negotiation in

question was incomplete, with the company originally providing “price

negotiation emails” in its SRA but later explaining that price

negotiations were actually conducted by telephone—a fact which should

have been disclosed from the outset. See Petitioner’s Second Draft

Remand Comments at 13-14, P2RR 5, Appx__; Pl.’s First Rem.

Comments at 33-34. See also Ulix SRA at 13 (requiring “logs of

negotiations conducted over the telephone” or an affidavit from the

customer in the absence of written documentation of such negotiations),

PR 90, Appx__. It was only when Ulix provided the requisite affidavit

from the customer four months later that American Keg had enough

information to probe further into potential, previously undisclosed

affiliations.

      The resulting evidence submitted by American Keg directly

challenged Ulix’s initial claims of negotiating independence by

demonstrating that Ulix’s customer, Company A, was affiliated with

[                                                       ]. The [

                   ] was striking on its own, but American Keg also


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demonstrated that Company A [

                   ]. See Letter from Picard Kentz & Rowe LLP,

“Comments on Guangzhou Ulix Industrial & Trading Co., Ltd.’s March

14, 2019 3rd Supplemental Separate Rate Application Questionnaire

Response,” A-570-093, at 5-11 and Exhibit 21 (Mar. 25, 2019), PR 163,

CR 68, Appx__, Appx__. This evidence alone did not affirmatively

demonstrate that Company A and Ulix were affiliated, but it did raise a

substantial question about whether Ulix’s initial reporting was accurate

and complete, regardless of whether a Ulix official certified to the

accuracy of that reporting.

     Commerce has not questioned the veracity of American Keg’s

evidence and, in fact, has conceded the relationships between [

                ]. First Final Remand at 12, P1RR 9, C1RR 14, Appx__.

But Commerce has again insisted that American Keg’s failure to prove

affiliation between Ulix and its customer with its rebuttal evidence

meant that Ulix’s original statements were sufficient for obtaining a

separate rate. See Second Final Remand at 6 (“the petitioner’s

information did not demonstrate that Guangzhou Ulix was affiliated

with [                                          ]”), P2RR 6, C2RR 6,


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Appx__; see also id. at 13 (“none of the information the petitioner placed

on the record suggested that Guangzhou Ulix was in a position to

control [                                                             ]”),

Appx__.

      This Court has held that Commerce must base its determinations

on affirmative evidence while also contending with evidence that fairly

detracts from its conclusion. American Keg II, 2022 WL 4363320, at *3.

Commerce cannot absolve questions about Ulix’s SRA by requiring

American Keg to prove affiliation or control; such a standard flips the

evidentiary burden for obtaining a separate rate on its head. Rather,

Commerce must resolve credible questions about Ulix’s SRA statements

by obtaining additional information from Ulix that satisfactorily rebuts

the evidence that detracts from its representations. As discussed in the

following section, Commerce failed to do so, and the additional

statements provided by Ulix remain insufficient.

            B.   Ulix’s Rebuttal Statement Does Not Establish the
                 Company’s Eligibility for a Separate Rate

      Commerce did not issue any follow up questions to Ulix pertaining

to American Keg’s evidence, but Ulix submitted its own rebuttal

comment. See Letter from deKieffer &, PLLC, to the Department, “Ulix

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Rebuttal Comments,” A-570-093, (Mar. 28, 2019) (“Ulix SRA Rebuttal”),

at 1-2, PR 164, CR 69, Appx__. This Court previously rejected

Commerce’s reliance on two statements concerning [                 ] within

that submission, but, undeterred, Commerce now cites the remaining

statements as affirmative evidence that Ulix had no affiliation with

[          ]:

     ULIX has in the meantime conferred with [

                                ] . . . According to the reasons
     stated above, it can be concluded that there is no affiliated
     relationship between [            ] and {Ulix}.

Second Final Remand at 6, P2RR 6, C2RR 6, Appx__ (citing ULIX SRA

Rebuttal at 2, PR 164, CR 69, Appx__). See also id. at 13-14, Appx__.

     Plaintiff has repeatedly explained that this statement is not

affirmative evidence that the two entities are unaffiliated. First, the

statement does not come from a sworn affidavit by the customer but is,

instead, an undocumented summary of Ulix’s conversation [

          ]. See Pl.’s First Rem. Comments at 36. Such hearsay

statements cannot constitute substantial evidence in light of Ulix’s

history of imprecise claims regarding its own business operations.

Indeed, given that Commerce required Ulix to submit an affidavit from


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Company A concerning their price negotiations and their claims of

being unaffiliated, it is unclear why Commerce did not require the same

“bare denial” from [           ] once American Keg raised the issue. See

Letter from deKieffer & Horgan, PLLC, “Third Supplemental Separate

Rate Application Questionnaire Response,” A-570-093, at 1-2 (Mar. 14,

2019), PR 154, Appx__.

      Second, Ulix’s “conclusion” reflects a legal assessment that the

company was not entitled to make, particularly in light of this Court’s

prior holding that two of the factual assertions supporting that

conclusion, i.e., that [

                                                            ] and that [

                                                 ], had no bearing on

“present affiliations” and did not “deny an affiliation between Ulix and

Company A.” See Petitioner’s Second Draft Remand Comments at 15,

P2RR 5, C2RR 5, Appx__. See also American Keg II, 2022 WL 4363320,

at *3. Commerce’s SRA does require respondents to exercise their own

judgment about the definition of “affiliation” when making their initial

declarations, see, e.g., Ulix SRA at 16-17, PR 90, Appx__, but

Commerce’s rebuttable presumption of control meant that Ulix was


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required to provide affirmative evidence in support of its declarations

once American Keg countered those claims with its own evidence. A

summary of a conversation that [

                                                      ] hardly qualifies as

such evidence.

     Finally, Commerce insists that there is no reason to question the

accuracy of Ulix’s statement because it was accompanied by a factual

certification from Ulix. Second Final Remand at 14, P2RR 6, Appx__.

The agency also declares that it was not reasonable to require a further

demonstration of independence by Ulix because “there would be no

existing documentation to prove this lack of affiliation.” Id. But, as

noted above, Commerce does not allow respondents to rest on mere

assertions with respect to price negotiations even when accompanied by

factual certifications; rather, they are required to submit relevant

documentation or affidavits from their customers. See Ulix SRA at 13,

PR 90, Appx__. Neither does the record of this proceeding demonstrate

that Commerce was reasonable in relying on Ulix’s self-certified

narratives when the company had repeatedly erred in its description of

material facts in prior submissions. Contrary to Commerce’s position,


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then, what the law and agency practice required was not “artful

wording” from Ulix, see Second Draft Remand at 14, P2RR 1, Appx__,

but substantial affirmative evidence that directly addressed the

relationships, or lack thereof, between Ulix, Company A, [

                   ]. Commerce has not identified that evidence, and

its determination to grant Ulix a separate rate without such evidence

must again be remanded.




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                            CONCLUSION

     For all of these reasons, Plaintiff respectfully requests that this

Court sustain Commerce’s Second Final Remand with respect to its

finding that inflating 2016 Mexican data with a Brazilian CPI was

inappropriate but that this Court once again remand Commerce’s

determination with respect to the agency’s selection of the surrogate

value for labor and the separate rate status of Ulix.



                                    Respectfully submitted,

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Dated: January 26, 2023




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     UNITED STATES COURT OF INTERNATIONAL TRADE


                                            )
NEW AMERICAN KEG, d/b/a                     )
AMERICAN KEG COMPANY,                       )
                                            )
           Plaintiff,                       )
                                            )
     v.                                     ) Court No. 20-00008
                                            )
UNITED STATES,                              )
                                            ) Hon. M. Miller Baker,
           Defendant,                       ) Judge
                                            )
     and                                    )
                                            )
NINGBO MASTER                               )
INTERNATIONAL TRADE                         )
CO., LTD, and GUANGZHOU                     )
JINGYE MACHINERY CO., LTD.                  )
                                            )
           Defendant-Intervenors.           )
                                            )

           CERTIFICATE OF COMPLIANCE WITH THE
                    WORD LIMITATION

     I, Whitney M. Rolig, hereby certify that this brief, exclusive of the

table of contents, table of authorities, glossary, certifications of counsel,

and counsel’s signature block, but including headings, footnotes, and

quotations, contains 8,222 words, according to the word count function

of the word processing program used to prepare this brief, and therefore
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complies with the word limitations as set forth in ¶ 2(B) of the Standard

Chambers Procedures of this Court, as amended on October 3, 2016.


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